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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA
                       FORT LAUDERDALE DIVISION

                                CASE NO.:


 STEVEN D. WRAINS, individually,
 and STEVEN D. WRAINS, as natural
 parent and legal guardian for MEGAN
 ELIZABETH WRAINS and TYLER
 WILLIAM WRAINS,

       Plaintiffs,
 v.

 UNITED VAN LINES, LLC.

      Defendant.
 _________________________________/

                             NOTICE OF REMOVAL

       COMES NOW the Defendant, UNITED VAN LINES, LLC, and files this

 Notice of Removal from Florida's 17th Judicial Circuit Court to the United States

 District Court for the Southern District of Florida and states:

       1.     A civil suit was commenced against this Defendant in the Circuit Court

 of the 17th Judicial Circuit in and for Broward County, Florida, styled STEVEN D.

 WRAINS, individually, and STEVEN D. WRAINS, as natural parent and legal

 guardian for MEGAN ELIZABETH WRAINS and TYLER WILLIAM WRAINS,

 Plaintiffs, v. UNITED VAN LINES, LLC., Defendant, case no. CASE NO. 12-12953

 (14), on or about April 27, 2012 for injuries allegedly suffered on December 18, 2009

 as the result of a traffic accident in Broward County, Florida. A copy of the

 complaint and complete state court file is attached as Exhibit 1.

       2.     With process, UNITED VAN LINES, LLC. received a copy of the
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 summons and complaint on or about May 30, 2012. Copies of the documents

 received by Defendant, UNITED VAN LINES, LLC., are attached.

       3.      It is alleged in the complaint, paragraph 3, that the Plaintiffs are residents

 of the State of Florida, and upon information and belief they were citizens of the State

 of Florida at the time the complaint was filed and at all times material hereto have

 been citizens of the State of Florida.

       4.      The citizenship of Defendant, UNITED VAN LINES, LLC., is not

 alleged in the complaint, however, as is evidenced by the printout from Missouri’s

 Secretary of State website attached as Exhibit 2 it is an entity incorporated in the

 State of Missouri. United Van Lines, LLC. was a citizen of the State of Missouri at

 the time the complaint was filed, was a citizen of the State of Missouri when the

 cause of action allegedly occurred, and at all times material hereto has been a citizen

 of the State of Missouri. This Defendant has never been a citizen of or headquartered

 in Florida.

       6.      The complaint merely alleges Florida’s circuit court jurisdictional

 amount of $15,000 and makes no demand for a specific liquidated sum. The

 expressed policy of this Circuit is to look to the Notice of Removal for additional

 information when the allegations of a complaint are insufficient to determine whether

 a sufficient basis for Removal exists. In Williams v Best Buy Company, 269 F.3d

 1316 (11th Cir.2001) the Eleventh Circuit held that when the complaint fails to

 establish the jurisdictional amount in a removed case “the removing defendant must

 prove by a preponderance of the evidence that the amount in controversy exceeds the


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 jurisdictional requirement”, and explained:

       We now make explicit what we suggested in Sierminski and adopt the
       approach of the Fifth and Ninth Circuits. When the complaint does not claim
       a specific amount of damages, removal from state court is proper if it is facially
       apparent from the complaint that the amount in controversy exceeds the
       jurisdictional requirement. If the jurisdictional amount is not facially apparent
       from the complaint, the court should look to the notice of removal.

 Williams, id., p. 1319


       7.     The matter in controversy is believed in good faith to exceed the sum or

 value of $75,000, exclusive of interest and costs, due to information provided by

 Plaintiffs’ counsel, as reflected in the affidavit attached as Exhibit 3. Plaintiffs’

 counsel has confirmed the amount in controversy exceeds $75,000 and has consented

 to undersigned counsel including that confirmation in this Notice of Removal.

       8.     This Court has original jurisdiction of this civil action pursuant to 28

 U.S.C. § 1332 and this matter may be removed pursuant to 28 U.S.C. § 1441 as it is

 a civil action in which the matter in controversy is believed in good faith to exceed

 the sum or value of $75,000, exclusive of interest and costs, and because the action

 is between citizens of different states.

       9.     Because the named Defendant is not a citizen or resident of the State of

 Florida and Plaintiffs are citizens and residents of the State of Florida and because the

 matter in controversy is in good faith believed to exceed the sum or value of $75,000

 exclusive of interest, fees and costs, this action is properly removable to this Court

 pursuant to 28 U.S.C. § 1441.




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                                    CONCLUSION

          WHEREFORE the Defendant, UNITED VAN LINES, LLC., respectfully

 requests the United States District Court for the Southern District of Florida to accept

 this Notice of Removal and assume jurisdiction of this cause and issue such further

 orders and process fees as may be required to bring before it all parties necessary for

 trial.

          Dated June 21, 2012.

                                                       Respectfully submitted,



                                                       s/ Eugene G. Beckham
                                                       EUGENE G. BECKHAM
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                                                       Lead attorney for Defendant,
                                                       United Van Lines, LLC




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                                                      CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that a true and correct copy of the foregoing was served

 by facsimile and U.S. Mail on June 21, 2012 on all counsel or parties of record on the

 attached service list.


                                                                                   s/ Eugene G. Beckham


                                                                    SERVICE LIST

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 Attorney for Steven D. Wrains, Megan
 Elizabeth Wrains and Tyler
 William Wrains



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